                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:19-CV-543-RJC-DCK

 STEVEN DAVIDSON, individually, and on behalf                    )
 of others similarly situated,                                   )
                                                                 )
                 Plaintiff,                                      )
                                                                 )
     v.                                                          )   ORDER
                                                                 )
 DAIMLER TRUCKS NORTH AMERICA LLC,                               )
                                                                 )
                 Defendant.                                      )
                                                                 )

          THIS MATTER IS BEFORE THE COURT on the “Joint Motion For Continuation Of

Brief Stay Of Proceedings” (Document No. 45) filed October 16, 2020. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, and noting consent

of the parties, the undersigned will grant the motion. Further extensions are unlikely to be allowed.

          IT IS, THEREFORE, ORDERED that the “Joint Motion For Continuation Of Brief Stay

Of Proceedings” (Document No. 45) is GRANTED. This matter is STAYED through November

20, 2020.

          IT IS FURTHER ORDERED that the parties shall file a Notice Of Settlement or a

Certification and Supplemental Report of Fed.R.Civ.P. 26(f) Conference and Discovery Plan, on

or before November 25, 2020.
                                      Signed: October 16, 2020




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